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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     DELPHINE ALLEN, et al.,                           Case No. 00-cv-04599-WHO
                                                        Plaintiffs,
                                   8
                                                                                           ORDER APPROVING PAYMENT TO
                                                 v.                                        MONITOR AND COMPLIANCE
                                   9
                                                                                           DIRECTOR (AUGUST 2024)
                                  10     CITY OF OAKLAND, et al.,
                                                        Defendants.
                                  11

                                  12          The Court has reviewed the invoices submitted by the Monitor and Compliance Director for
Northern District of California
 United States District Court




                                  13   August 2024 and finds the requested amounts reasonable to pay. Accordingly, the Clerk shall

                                  14   disburse $12,500.00 to Warshaw & Associates, Inc., for the Compliance Director, and $31,036.97

                                  15   to Warshaw & Associates, Inc. for the Monitor.

                                  16          The City is reminded of its obligation to deposit into the Court registry, within fourteen

                                  17   days, the total amount disbursed by this Order. Jan. 19, 2017 Order at 2.

                                  18          IT IS SO ORDERED.

                                  19   Dated: September 5, 2024

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                                                                                                    William H. Orrick
                                  22                                                                United States District Judge
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